  8:21-cv-00322-RFR-SMB Doc # 24 Filed: 02/11/22 Page 1 of 2 - Page ID # 187



                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

 ELIJAH WELLS, by and through his mother                     Case No. 8:21-cv-322
 SUZANNE GLOVER,

                      Plaintiff,
                                                 INDEX OF EVIDENCE IN SUPPORT OF
 v.                                               DEFENDANT’S MOTION TO DISMISS

 CREIGHTON PREPARATORY SCHOOL, in                           Fed. R. Civ. P. 12(b)(6)
 its official capacity,                                              and
                                                            Fed. R. Civ. P. 12(b)(1)
                      Defendant.


      Defendant, Creighton Preparatory School, submits the following evidence in support of its

Motion to Dismiss:

      1.     Affidavit of James Bopp;

                    Including its Exhibit “A” – Creighton Preparatory School Student-Parent

                     Handbook 2020-2021.

      Dated this 11th day of February, 2022.

                                           CREIGHTON PREPARATORY SCHOOL,
                                           Defendant


                                           By: /s/Patrick M. Flood
                                           Patrick M. Flood, #19042
                                           William N. Beerman, #26544
                                           PANSING HOGAN ERNST & BACHMAN LLP
                                           10250 Regency Circle, Suite 300
                                           Omaha, NE 68114
                                           (402) 397-5500
                                           (402) 397-4853 (facsimile)
                                           Attorneys for Defendant
                                           pflood@pheblaw.com
                                           wbeerman@pheblaw.com
  8:21-cv-00322-RFR-SMB Doc # 24 Filed: 02/11/22 Page 2 of 2 - Page ID # 188




                                 CERTIFICATE OF SERVICE

       I hereby certify that on the 11th day of February, 2022, I electronically filed the foregoing
document with the Clerk of the Court using the CM/ECF system which will send notification to the
following:

       Keith L. Altman
       LAW OFFICE OF KEITH ALTMAN
       33228 West 12 Mile Road, Suite 375
       Farmington Hills, MI 48334



                                             /s/ Patrick M. Flood




                                                2
